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Case 1

0 0 0 0 0 0 0 0 0 0 0 0 ON BHISuD ASOSNIAS lepetZ028
0 0 0 0 a 0 0 Q 0 0 0 0 sn @ SAWP ‘Ill NOSWW @8b€z9

0 0 0 a a 0 0 0 0 0 0 0 sn LN3EON "UP OLVAONSY 066129

0 0 0 0 0 0 0 0 Q 0 0 0 3a NAOUANP ‘HSSONHOS 60be1z9068
0 0 0 0 0 0 0 0 0 0 Q 0 30 QuVHWYNE “TJOWN 151619068
0 0 0 0 0 0 0 0 0 0 0 0 3d SVIGOL 'NYOWYABVH 10zz819068
gece 0 gg'ee 0 0 0 0 0 0 0 0 0 HO ANSYNVT 'LLNOW 282S>900b2
0 0 0 0 0 0 0 0 0 0 0 0 4 OUNONYS 'JO10d OLvezo008Z
0 0 0 0 0 0 0 0 0 0 0 0 vo NAM 'NINSHONWAE 222229

0 0 0 0 az9L ez'9L 0 0 0 0 0 a aN “AVLINY ‘NVEUN->ININSOTH easZzseo08
lo 0 0 0 0 a 0 0 0 0 0 0 sn H AMIW 'NSWWSUD 162129

0 0 0 0 0 a 0 0 0 0 0 0 vo ABSSVH ‘VIOID 6S11Z9

0 0 0 0 0 0 0 0 0 0 0 0 a9 d 337 'ASHOLS aeaeelzees
0 0 Q 0 0 0 0 0 0 0 0 0 sn W Y3SINNA?P 'SIOJDYNO 915029

0 0 0 0 0 0 0 0 0 0 0 0 3s YIOON 'NOSSNVHOF BS/LpSPore
0 0 0 0 0 0 0 0 0 0 0 0 sn V ANVdIL 'VUWH O 122bz9

0 0 0 0 0 0 0 0 0 0 0 0 sn 0143 ‘WYHONIB 092bz9

0 0 0 0 0 0 0 o 0 0 0 0 sn VIDIULWd 8 MOL ‘TISONWIOWd bLLLZ9
ZeOLe 0 Lege 0 0 0 0 0 0 0 0 0 1d VS 7¥INNH YvIS34 VNATVOOWW prSbrlOLL9
0 0 0 0 0 0 0 0 0 0 0 0 ON VINWWW NITS 'NSLVWuav1 9985602028
0 0 0 0 0 0 0 0 0 0 0 0 sn ATIG ‘ONVISYOW $zS2z9

0 0 0 0 0 0 0 0 0 0 0 0 sn  MSHLLVW 'HSINYWd €2S2z9

0 0 0 0 0 0 0 0 0 0 0 0 sn ABYSS 'NVHINST €61229

0 0 0 a oot 0 oot 0 0 0 0 0 sn H GIAVG ‘LLOTILYNOL 68SP661

lo 0 0 0 0 0 0 0 0 0 0 0 qN vo0383u ‘OOMO #96S/SC008
0 0 0 0 o 0 0 0 0 0 0 0 sn ASWVE ‘LLIZY @S6619

lo 0 0 0 0 0 a 0 a 0 0 0 sn VO 'sa009 s6619

0 0 0 0 0 0 0 0 0 0 0 0 sn $ WNHSOF 'NVYH9O9 8/9619

0 0 0 0 0 0 0 0 0 0 0 0 ud C SIONVUd "SONI 64Z8Z90292
a 0 0 0 0 0 0 Q 0 0 0 0 sn ISON 'SNVAA ZZ 1629

lo 0 0 0 0 0 0 a 0 0 0 0 sn VTAVHOIN 'NOSLLYW 915tz9

0 0 0 0 0 0 0 0 0 0 0 0 IN SNNINWW ‘SYNAW L6r69Se008
0 0 0 0 0 0 0 0 0 0 0 0 sn WHSITIV 'NOLONIHSWM €bbez9

0 0 O 0 0 0 0 0 0 0 0 0 vo AD IOVNE ‘GUVHONOE 2L12z9

lo 0 0 0 0 0 0 0 0 0 0 0 sn LVIEVW ‘ONVOOWA 9/1229

0 0 0 0 0 0 o 0 0 0 0 0 qN AWWA 8 SINN3O 'N31SS3H 9ZbL.2Sc008
0 0 0 0 Lo'ob 40'91 0 0 0 0 0 0 ya Sdv IIvG dvo esozzecole
lo 0 0 0 0 0 0 0 0 0 0 0 ya AANGIS AX31 LNW 1d Zozasecole
0 0 0 0 0 0 0 0 0 0 0 0 sn Blane 'NOLSOd 042029

lo 0 0 0 0 Q 0 0 0 0 0 0 sn 4 WNSIq@OaYWNGa 's3NOr 2sz0z9

0 0 0 0 0 0 0 0 0 0 0 0 gq YWHLOT 'NSTISNW pesozz9068
0 0 0 0 0 0 0 0 0 0 0 0 sn N3AALS ‘AOMLYH 729ez9

0 0 0 0 0 0 0 0 0 0 0 0 sn S ATUS8WIH ‘GHVMOH 8SLez9

0 0 0 0 0 0 0 0 0 0 0 0 3G = WAG NVSYANY ‘NHvavd - YaNogE p/s1619068
o 0 0 0 0 0 0 0 0 0 0 0 sn INITWN @ IHLUWPIA 'NIVUWN EeBez9

0 0 0 o 0 0 0 0 0 0 0 0 sn GIVNIDSY 'SSOY e6zee9

0 0 0 0 0 0 0 0 0 0 a 0 3a NVWWH3Q '‘AOSHY 1965219068
0 0 0 0 69°22 68:22 0 Q a 0 0 0 yO SLNOG 'NSSWINACaNS C89Z/EC018
o 0 0 0 0 0 0 0 0 0 Q 0 sn COU 'ABNWHO Lbe2€9

0 0 0 0 0 0 0 0 a 0 0 0 sn SNIMONVO ‘ZSHONVS EF0LE9

0 0 0 0 0 0 0 0 0 0 0 0 sn NHOr 'N3AaW LbOZES

0 0 0 0 0 0 0 0 0 0 0 0 a9 NVU3Iy ‘SSNUNVE-TVY3AO OL zpszese
0 0 0 0 0 0 a 0 0 0 0 0 ul Moidov09 OFNID ss96Lo008Z
0 0 0 0 sezb 0 Lob pz 0 0 0 0 ud SIOONWHSNVAP “INO LIdid 0020890492
0 0 0 0 0 0 0 0 0 0 0 0 3a oan 'aLNn@ s9zzez9068
0 0 0 0 0 0 0 0 0 0 0 0 it OIMOLLIA ‘OONOM 1 bZ6z00082
0 0 0 0 0 0 0 0 0 0 0 0 sn WNVIdd ‘OOTHYS L9s6e9
se'zp 0 sey 0 0 0 0 0 0 0 0 0 ud NVWIMOS ‘LINOWSHOAL NIE PLL LB90Z9Z
o 0 0 0 0 0 0 0 0 0 0 0 sn d ANOSSE? 'NSLUAW Oe9e€9

o 0 0 0 0 0 0 0 0 0 0 0 sn AMIN 'YATISS goeeeo

0 0 0 0 0 0 0 0 0 0 0 0 sn AWM AMIN ‘ISIT €Z68€9

0 0 0 0 0 0 0 0 0 0 0 0 sn 7 ANSTUYW 'NVINYaOW Bezee9

0 0 0 0 0 0 0 0 0 0 0 0 ya ONIWW314 ‘ONISSOY St Legecor8
0 0 0 0 Q 0 0 0 0 0 0 0 iv WHCNWSHATY 'MAZONVUS 221020002
0 0 0 0 0 0 0 0 0 0 0 0 IN IWS! ‘SvLUVdv¥9 669S9Sc008
lo 0 0 0 0 0 0 0 0 0 0 0 sn O VITAWY '1SSNUva 81Z6e9

0 0 0 0 0 0 0 0 0 0 0 0 sn AauAdar 'SATEVND gozEe9

0 0 0 0 0 0 0 0 0 0 0 0 sn 7 3IGGy 'NVW3109 6r62e9
Ls'2ez 0 1g'292 0 be°S6 0 e's6 0 0 0 0 0 vo SIOONVUS-NVAr ‘SvUoIG Ze89661

0 0 0 0 a 0 0 0 0 0 0 0 vo 3INNOS "SHLAWS @299¢9

0 0 0 0 0 0 0 0 0 0 0 0 iv ISNU3 'MSNLIAISQ4 1640120002
0 0 0 0 0 0 0 0 0 0 0 0 as UVNNY 'NISNVH 6/5b6Sb0b8
0 0 0 0 gece 0 ge'ee 0 0 0 0 0 HO NSLLSWAaS ‘NVGHOF $902/002b2
0 0 0 0 0 0 0 0 0 0 0 0 sn Sslvioossy OF 0L0€29

0 0 0 0 0 0 0 0 0 0 0 0 ON V10 ONVAMAW 101zz0z028
0 0 0 0 0 0 0 0 0 0 0 0 ON CUYVAYWH 310 ‘GNVTAS bLoEPoz0ze
0 0 0 0 0 0 0 0 0 0 0 0 ON GUYHIN WOL 'ZIOHOS Z0ezz1Z028
0 0 0 0 0 0 0 0 0 0 0 0 sn NALSIYM 'SHNIBY PELLZS

0 0 0 0 0 0 0 0 0 0 0 0 3s JBINVG 'H3HLTWM Lecogsbore
0 0 0 0 0 0 0 0 0 0 0 0 iv CTWNOW 'SYMHOS O6EL0z0002
0 0 0 0 Sep 0 setb 0 0 0 0 0 $3 SINVG NINOS "BO 9PeZ9LOZEZ
0 a 0 0 0 0 0 0 0 0 0 0 3a SIMGNT 'NATISOL »}Z0€z9068
0 0 0 0 o 0 0 0 0 Q 0 0 sn NITHNVYS 'SVIOHOIN 690629

0 0 0 0 0 0 0 0 0 0 0 0 ON BAOL 'OVLSSNNW bZLSL1Z0Le
0 0 0 0 0 0 0 0 0 0 0 0 sn SASINdHALNA OONI LL ¥ez9

0 0 0 0 0 0 0 0 0 0 a 0 ya NASMINS ONIWWST4 ZESSbecole
0 0 0 0 0 0 0 0 0 0 0 0 sn VSAUYAL 'ABHOD SL0EZ9

o 0 0 0 0 0 0 0 Q 0 0 0 sn 2 FIOOAN 'SONINWND ZS2ez9

0 0 0 0 0 0 0 0 0 0 0 0 ON NASONITIS THAONI ‘OvWAOWS E8ezZ1Z028
0 0 0 0 0 0 a 0 0 0 0 0 aad JNM SSANISNB MAN 0SzS0z9068
0 0 0 0 0 0 0 0 0 0 0 0 iv MOLMIA ‘OMALS 1661020002
0 0 0 0 0 0 0 0 0 0 0 0 4 14S VIGSWOC 9sSz000082
0 0 0 0 0 0 0 0 0 0 0 0 sn MAXGNY 'GNYMOH 2s0ez9

o 0 0 0 0 0 Q 0 o o 0 0 as AY TIN ® SAM SHOASONITHG Lesgesbore

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Case 1

0 0 0 0 0 0 0 0 0 0 0 0 sn TOIAVG “Ur NOLTINVH ce0reo

0 0 o 0 0 0 0 0 0 0 0 0 3a SVWOHL 'N3AVE b6/97z79068

lo 0 0 0 0 0 0 0 0 0 0 0 sn 3 YNO31 'NOSNHO?F 80b>z9

0 0 0 0 0 0 0 0 0 0 0 0 sn TVSSYSHL 'GYVTID Zbz6e9

0 0 0 0 0 0 0 0 0 oO 0 0 30 NILSUSy "SONY 164619068

0 0 0 0 0 0 0 0 0 0 0 0 3s TISPy 'NSQNVISH S0ELZ9bOre

0 0 0 0 0 0 0 0 0 0 0 0 sn 1 HL38ZI7 ‘OWOH Z10zz9 z,
0 0 0 0 0 0 0 0 0 0 0 0 ON SLN38 ‘MIAZUE ZLOELLZoz8 [Lessz
0 0 0 0 0 0 0 0 0 0 0 0 sn 3 LNSONIA 'VNNVHOS 612129 oossz|
0 0 0 0 0 0 0 0 0 0 0 0 sn TPISIA 'MOTAWL LOZLZ9 lesssc|
Secp 0 sez 0 0 0 0 0 0 0 0 0 dd SVIOOIN 'ONILYWW pZ69z90z92 [BSSsz|
lo 0 0 0 0 0 0 0 0 0 0 oO sn ANN? ‘AHGYNW beELZ9 jzsssc|
0 0 0 oO 0 0 0 0 0 0 O 0 sn VUYONAY 'AODOW 9901z9 asssz
lo 0 0 0 0 0 0 0 0 0 0 0 ON HL38VSI13 'SvVIGSW 'VNOW 'NSSN39VH Lezoz0z028 |ssssz|
lo 0 0 0 0 0 0 0 0 o 0 0 sn YU VONNVHS ‘GNVLSOS 189679 lpsssz|
0 0 0 0 0 0 0 0 0 0 0 0 sn NIA73 ‘OGVONAW O89ez9 lesssz]
‘0 0 0 0 0 oO 0 0 0 0 0 0 3a SMN 'savTiws 2zoozzs06e [esssz|
lo 0 0 0 0 oO 0 0 0 0 0 0 sn SSW ‘NVHO £29779 [isssz|
lo 0 0 Oo 0 0 0 0 0 oO 0 0 sn  VONATNS 'NVONY BEEzZo losssz|
lo 0 0 0 0 0 0 0 0 0 0 0 sn NOSvP 'OZZVLNOO LrEzzo |6vSsc|
0 0 0 0 0 0 0 0 0 0 0 0 sn TIASSNY 'SLIHM ZL0zz9 [aySsz|
0 0 0 0 0 0 0 0 0 oO 0 0 ya 3NILSUIM VAYNCNV 'NSSSNWSva Oos6rLeoLe [ZpSsz
lo 0 0 0 0 0 0 0 ° 0 0 0 sn 7] MAHAOLSINHD ‘AYMOT ZZELZ9

lo 0 0 0 0 0 0 0 0 0 0 0 sn V L134 'HLISSIYD 926129

0 0 0 0 0 0 0 0 0 0 0 0 sn V GNOWAVY “XOIGIM zS0129 pbssz
0 0 0 0 0 0 0 0 0 0 0 0 sn SYONY ‘SYYAld 9P0Lz9 lerssz|
0 0 0 0 0 0 0 O 0 0 0 0 ya NOILOWONVA S1laud 9zoebecote [zbsse|
0 0 0 0 0 0 0 0 0 0 0 0 qN GINONI '1SS3O0L bzgvogeooe [Lyssz,
0 0 0 0 0 0 0 0 0 0 0 0 sn A NIATV9 ‘N39 922619 jovssz|
0 0 0 0 0 0 0 0 0 0 0 0 sn ddITIIHd ‘Nos beevzs lecssz|
0 0 0 0 0 0 0 0 oO 0 0 0 sn Y FLLOTYWHO 'HLINS Z26£79 esse
0 0 0 0 0 0 0 0 0 0 0 0 ON NVILSINM SUVT “IWOAZOH e9pszizoze [Zesse|
0 0 0 0 0 0 ° 0 0 0 0 0 ON YSLNASSISTdGNH VO3WO v4Tv osstoLzoze |9essz
sty 0 sez 0 0 ° ° 0 0 0 0 0 ud SAGVIMO 'VLIS EFE6Z90L9L

0 0 0 0 0 0 0 0 0 0 0 0 sn SNAWM ‘OOD £69279

lo 0 0 0 0 0 0 0 0 0 0 0 ld SUIVWN ‘OTWW BzsZ08z0z8

0 0 0 0 0 0 0 0 0 0 0 0 ya NNv '3SOWAOMS 96PrZSEE0L8

lo 0 0 0 0 0 0 0 0 0 0 0 sn NIATV9 ‘ASE-SCTIHD 10Z2Z9

lo 0 0 0 0 0 0 0 0 0 0 0 sn ANHAv? 'SNIGSOW 829979

0 0 0 0 0 0 0 0 0 0 0 0 a9 AXOIO 'NSANVXST Zeeeo/ze88

0 0 0 0 0 0 0 0 0 0 0 0 ON F1VO NIGOU 'N3O BBl9bLzoZe

0 0 0 0 0 0 0 0 0 0 0 0 3a N39OUSN ‘LHOSNS TW SeOsezg06e

lo 0 0 0 0 0 0 90 0 0 0 0 sn AZMOIN 'GNVIMOX 6E9629 97sSc,
0 0 0 0 0 0 0 9 0 0 0 0 sn WN3YNV1 'SNNAM 926679 Iscssz]
0 0 0 0 0 0 0 0 0 0 0 0 sn N HNIW 'INg Leo6z9 lpzssz|
0 0 0 0 0 0 0 9 0 0 0 0 1N NOOL ‘G7SA39NV1 €zzS09¢008 [Ezssz|
0 0 0 0 0 0 0 0 0 0 0 0 ON MOLYIA CIVEVH 'NSGNVLIN LZLeLtzoze |zessz
lo 0 0 0 0 0 0 0 0 0 0 0 sn S QVHO 'NHW7 0F08z9

o o 0 0 0 0 0 0 0 0 0 0 ON NVHOr TIONS ‘NAS TSNWS | LoeLtz0ze

0 0 0 0 0 0 0 0 0 0 0 0 iv 4M3843H 'YSAVW 61500z0002

lo 0 0 0 0 0 0 0 0 0 0 0 sn W CIAVG ‘ONVZNWW 666929

0 0 0 0 0 0 0 0 0 0 0 0 sn NATWSON 'ABTUVS 166979

lo Oo ° 0 0 0 0 0 0 0 0 0 sn STISINVG 'NASN3LSINHO 789979 ovsse
0 0 0 0 0 0 0 0 0 0 0 0 sn 4 3INOA 'NOS73N 6yE9z9 [stssz]
0 0 0 0 0 0 0 0 0 0 0 0 ON N3S10 WNIUI /¥d N3MOd dIHSUsavS1 oFresozoze [rLSse]
0 0 0 0 0 0 0 0 0 0 0 0 4 OZN3YO7 IT1asOy zoszeoouas fersse
0 0 0 0 0 0 0 0 0 0 0 0 sn SIMI ‘ZANONIWOG 669Ez9 zLssc|
0 0 0 0 0 0 0 0 0 0 0 0 sn ANOHLNV 'H3LSIW 926629 [Lissz|
0 0 0 0 0 0 0 0 0 0 0 0 ON UVNIB T13PH ‘NASYOATVH LEEZstzoz8 joLsse|
0 0 0 0 0 0 0 0 0 0 0 0 sn Vid 'VYSNad EvoEzo Jé0ssz|
0 0 0 0 0 0 0 0 0 0 0 0 sn YSSINNAP 'NAYYWM zZ8eez9 feosse|
0 0 0 0 0 0 0 0 0 0 0 0 3a YVNL3IG 'YSHLNY €0051z9068 [Z0Ssz|
0 0 0 0 0 0 0 0 0 0 0 0 ya Vid 'INSA SeepZzeeole |90ssz|
0 oO 0 0 0 0 0 0 0 0 0 0 ya VNINVO-ANNY “IVGaue EL9L9EcOLs [SOSSz]
0 0 0 0 0 0 0 0 0 0 0 0 as NNV 'NOSTIM g96eserore [rOSsz]
lo 0 0 ° 0 0 0 0 0 0 0 0 sn GIAVG 'NOLS3ud 2091z9 feossz|
0 0 0 0 0 0 0 0 0 0 0 0 sn S NAYVm 'NSNSON319 Sogtza

0 0 0 ° 0 0 0 0 o 0 0 0 qN NVIAIA 'SNYOOIdVd 6BSS6SE008

0 0 0 0 0 0 0 ° 0 0 0 0 sn 2 THVy 'NOYANYS 9E00z9

0 0 0 0 0 0 0 0 0 0 ° 0 ON SLUVPa 'N3STIN 28+9P1Z028

0 0 0 0 0 0 0 ° 0 0 0 0 as MING3us 'NOSSNVP Z/bZ6Sb0r8

0 0 0 0 0 0 0 0 0 0 0 0 sn f SYONY ‘Nvaono 116zz9

0 0 0 0 0 0 0 0 0 0 0 0 sn HOUNHD LSIGOHLSW G3LINN LSUls £6S1Z9

lo 0 0 0 0 0 0 0 0 0 0 ° sn & WVITIM 'HONH Z1Ezz9

0 0 0 0 0 0 0 0 0 o 0 0 ya INHOF 'NOSTHV9 ezsbZecors

lo 0 0 0 0 0 0 0 0 0 0 0 sn ATISHOIW ‘OUNOD 1z6zz9

0 0 0 0 0 0 0 0 0 0 0 0 sn V UVINO 'Z30N3W SB8Ez9

jo 0 0 0 0 0 0 0 0 0 0 0 iv SNIMWW 'NSIGIEWHOSO Zssz0zZ000L

0 0 0 0 o 0 0 0 0 0 0 0 a HL38SI1 'N3STAIN LSpgeccoLe

eeze 0 ecze oO 0 0 0 0 0 0 0 0 a9 3 NVI ‘ONIGTSIS Ocezpazees

lo 0 0 0 0 0 0 0 0 0 0 0 sn VSANAL 'SWIS E1Z2z9

lo 0 0 0 0 0 0 0 0 0 0 0 IN SNOr 3Q'v gelseseoos

0 0 0 0 0 0 0 0 0 0 0 0 3s SPL 'ONVULS S@zaPsbore

0 0 0 oO 0 0 0 0 0 0 0 0 TN IO1MLWd 'LYVWOOOS N3C NVA-13NVENSA bLosescoos

lo o 0 0 0 0 9 0 0 0 0 0 ya INAWSOWNWW ¥ > LZzezeeore

0 0 0 0 0 0 0 0 0 0 0 0 sn SV1ONOG 'SCTIHO SsBEzo

0 0 0 0 0 0 0 0 0 0 0 0 Ll VNviav4 ‘OSsny L90ze000BZ

o 0 0 0 0 0 0 0 0 0 0 0 3d VNILUWW 'NH3NY 6629219068

lo 0 0 0 0 0 0 0 0 0 0 0 sn 8 NOYSWVO 'AYLN39 8/zbz9

0 0 0 0 0 0 0 0 0 0 0 0 sn WVITIIM 'SNVAZ £60029

lo 0 0 0 0 0 0 0 0 0 0 0 sn -NVUJ ‘OTONOWES 9PZ6L9

lo 0 0 0 0 0 0 0 0 0 0 0 3a QS3Y4NVW 'LYVHNH31 6612219068

o 0 0 0 0 0 0 0 0 0 0 0 ga SUYGNV ‘ddVUL pez0ezo068

o 0 0 0 0 oO 0 ° 0 0 0 0 sn VSSIT3W ‘391d £86229

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Case 1

0 0 0 0 0 0 0 0 0 0 0 0 3d SVIGOL TIM 9b6p819068

seb 0 set 0 0 0 oO Oo 0 0 0 0 us TWLNWHO ‘INIYD3TIAd 0966290292

0 Oo 0 0 0 0 0 0 0 0 o 0 ON BONVYO NVILS 'NZONVH 9¢0S60z0ze

0 0 0 0 o 0 0 0 ° 0 0 0 sn SAWVr 'NOSGIAVG ¢L2029

lo 0 0 0 0 ° 0 0 0 0 0 0 sn GUYNOS1 13 012029

lo 0 0 0 0 0 0 0 0 0 0 0 sn 1901 "SAZLNWUYS 940029

0 0 0 0 0 0 0 Q 0 0 0 0 sn JNVIZ ‘aInnW 6p6LZ9

lo 0 0 0 0 0 0 0 0 0 0 0 sn INYAL 'SUIDOY €99Z9

a 0 0 0 0 0 0 0 Oo oO 0 0 sn ATISHOIW 'NMONS 62S2Z9

0 0 0 0 0 0 0 0 0 oO 0 0 sn 7 OlWa 'NOSUSANY E8Zb29

0 0 0 0 0 0 0 0 0 0 0 0 sn VVSINVIN 'S>TIM 6E6EZ9

lo 0 0 0 0 0 0 0 0 0 0 0 sn GIAVG 'SVTANUO 86zE29

0 0 0 0 0 0 0 0 0 0 0 0 sn SINHO 'NOSNHOF b2z2z9

0 0 0 0 0 0 0 0 0 0 0 0 qN SIIVLWN ‘SIHDOTWa Loleeseooe

0 0 0 0 0 0 0 0 0 0 0 0 sn TSVHOIW 'YuWd 860z9

0 0 0 0 0 0 0 0 0 0 0 0 iv WVIMIW 'HSLSNHOS 20z00z0002

0 0 0 0 0 0 0 0 0 0 0 0 iv SIMYH ‘SANSW 01ZE0z0002

0 0 0 0 0 0 0 0 0 0 0 0 sn JONVITIY LvO Twua4 9700z9

0 0 0 0 0 0 0 0 0 0 0 0 vo N3aUYNVIN ‘ASNVAW SEEZZ9

lo 0 0 0 0 0 0 0 0 0 oO 0 sn f SNIONG ‘STSINVG ELL9e9

0 0 0 0 0 0 0 0 0 0 0 0 sn G LLOOS "Nay £29~z9

0 0 0 0 0 0 0 0 0 0 0 0 sn VNVING “LISYYVE peeses

0 0 0 0 0 0 0 0 0 0 0 0 sn W NVHLWN ‘ASNOAAG SZZ9€9

0 0 0 0 eeze 0 eeze 0 0 0 0 0 a9 BOAOr ‘ONNGO LbpzpazeRs

0 0 0 0 0 0 0 0 0 0 0 0 sn VEVENVE ‘SNIWILTWM 9sese9

lo 0 0 0 0 0 0 0 0 0 0 0 sn Hvuoaad 'sv1onod ee96e9

lo 0 0 0 0 0 0 Q 0 0 0 0 sn W VSSINWIN HOINIT p6Z6E9

0 0 0 0 0 0 0 0 0 0 0 0 ON NSYAWVH 9528012028

lo 0 0 0 oO 0 0 0 0 0 0 oO sn TAWAVE 'ASHOIE E0ZE9

0 0 0 a 0 0 0 0 0 0 0 0 sn NIMBPN ‘ANN 09Z9e9

lo 0 0 0 0 0 0 0 0 0 0 0 sn N3T13 ‘NNOwNVE esZ9£9

0 0 0 0 0 0 0 0 0 0 0 0 sn LY3GOU 'IHOSSLVH4 OSL9E9

0 0 0 0 0 0 0 0 0 0 0 0 vo WIX 'SNHOF ZpSSE9

0 0 0 0 0 0 0 0 0 0 0 0 ya SLLSNNV 'N3SNP €Leseceore

lo 0 0 0 0 0 0 0 0 0 0 0 sn W SNAVP ‘OMS TWIEO Ovesed

0 0 0 0 0 0 0 0 0 0 0 0 sn f NHOP ‘S1HaIY Z698£9

0 0 0 0 ° 0 0 0 0 0 0 0 as WNIN ‘441MM 982zzeSbOre

0 0 0 0 0 0 0 0 0 0 0 0 3a ANNVINVW ‘NSCN3ESsv4 466€z9068

ge'LZs 0 ae bss 0 pe'zeL 0 re'z6t 0 0 0 0 0 ud © Gales1IM ‘SYAaIA LZPO8S0/9L

0 0 0 0 0 0 0 0 0 0 0 0 IN SUISLEWS-SLIOA SNNVINWW ® Nv 66Le09¢008

0 0 0 0 0 0 0 0 0 0 0 0 ya NONIS ‘WSN SZeSSeeOls

0 0 0 0 0 o 0 0 0 0 0 0 30 ONVOITIOM 'Y31L3d OL7z9068

0 0 0 0 0 0 0 0 0 0 0 0 3a NIWUv ‘YSNN3Y 6700619068

0 0 0 0 0 0 0 0 0 0 0 0 sn NVP 'SLNSIWA 826z€9

lo 0 0 0 0 0 o 0 0 0 0 0 4 9YORS 'YS4OHUld 2081 L00082

0 0 0 0 0 0 0 0 0 0 0 0 ya INV SNOIS 'WVEO-dNYASNOH gos! ZecoLe

lo 0 0 0 0 0 0 0 0 0 0 0 sn AMV 'AUSMOH 86¢2E9

0 0 0 0 0 0 0 0 0 0 oO 0 i YNITSHOIN ‘ISWW Sb8Lzoo08Z

‘0 0 0 0 Se'ese 0 seeee 0 0 0 0 0 vo VWVIMIN ‘VELSduSL Oz6pE6L

0 0 0 0 0 0 0 0 0 0 0 0 sn $ VIaWvd 'NS93LS 6869 Isepse

o 0 0 0 0 0 0 0 0 0 0 0 IN N3INOO 'N3aaM Zososseoos [rZbSZ]

lo 0 0 0 0 0 0 0 0 0 0 0 sn NOUVY ‘GYVHONOE 09069 lezbsz]

0 0 0 0 0 0 0 0 0 0 0 0 sn ASINSHO ‘YAdOOD sE06EO Izzbsz|

‘0 0 0 0 0 0 0 0 0 0 0 0 3a VO10 ‘LOINHOS Lszppza06e [tzpSz

0 o 0 0 0 0 0 0 0 0 0 0 sn W SINOT ‘TAN Wd €622€9 lozrsz|

0 0 0 0 0 0 0 0 0 0 0 0 sn f ANOL ‘YS dVINNG ZAPZE9 l6LySz|

0 0 0 0 29h 0 @'p9L 0 0 0 0 0 ud S3T19 'NNAW 37 eeezesoz9z [arbsz

0 0 0 0 0 0 0 0 0 0 0 0 as NYSOPaYOHL! ‘NOSSTIN Zre9zsPore

o 0 0 0 0 0 0 0 0 0 0 0 IN “vd ‘HAC NVA SASH eeegeseooe [9LPsz]

0 0 0 0 eole Le 9L€ 0 0 0 0 0 0 qd V?YMAZS ZSNIVG SoPSZLOLt9 [StvSz!

0 0 0 0 0 0 0 0 0 0 0 0 as BNNOAA ‘ONSEINS 89S2SSh08 [pL bse]

0 0 0 0 0 0 0 0 0 0 0 0 as VMS ‘NOSSNVHOF Szeplopore [etpsZ]

lo 0 0 0 0 0 0 0 0 0 0 0 sn V SVWOHL 'VLHOONSO Z/E8€9 zLpsz|

0 0 0 0 0 0 0 0 0 0 0 0 ON YFONI ‘DUSSIWION Lsge6ozoze [Lt ysZ|

0 0 0 0 0 0 0 0 0 0 0 0 sn JAW? ‘COOMSYVH Lee6e9 ol bsz|

0 0 0 0 0 0 0 0 0 0 0 0 sn SHOSL SUSLSVW Vd 666869 |60¥SZ|

io 0 0 0 0 0 0 0 0 0 0 0 sn f 4SOr ‘VGANWLSVO 2608€9 laopsz

0 0 0 0 0 0 0 0 0 0 ° 0 ON LINSNOOD WHAGANVS OAWHE LIEZStZOLe

lo 0 0 0 0 0 0 0 0 0 0 0 sn UV 'DNINNVIN z089e9

lo 0 0 0 0 0 0 0 0 0 0 0 sn NV? ‘HLIWS p229€9 isobse

0 0 0 0 0 0 0 0 0 0 0 0 1N VONIT 'SNINWPN3E Z6zteseoos [yoysz|

io 0 0 0 0 ° 0 0 oO 0 0 0 iv WNIOSY ‘NAW 94200z0002 [c0rszZ]

‘0 0 0 0 0 0 0 0 0 0 0 0 IN AUMAWIS 'MIVHNSA 6Z€z8S€008 |Z0bSz.

Oo 0 0 0 0 0 0 0 0 0 0 0 3a * "TAL - SIFUdYALNG Z1Z72ez9068

0 0 0 0 0 0 0 0 0 0 0 0 sn TINOM ‘5949 €026€9

0 0 0 0 0 0 0 0 0 0 0 0 sn YVSSITAW 'NOLTIWVH E8eles

0 0 0 0 0 0 0 0 0 0 0 0 3a TANNYW ‘OH1309 2514129068

o 0 0 0 0 0 0 0 0 0 0 0 ON NIZLSOr 'HOSVY 0469z00028

o 0 0 0 oO 0 0 0 0 0 0 0 3a 4104 'SALSND vOLZ7z9068

0 0 0 0 0 0 0 0 0 0 0 0 sn 3 NMvd ‘axuNdg SpPoE9

0 0 0 0 0 0 0 0 0 0 0 0 sn © GYVHOIY 'ZANILYWW epeeco

lo 0 0 0 0 0 0 0 0 0 0 0 sn W ASINVLS ‘OAVT e@zee9

0 0 0 0 0 o 0 0 0 0 0 0 qN A‘8 VOSOLNY Zdz819¢008

0 0 Q 0 0 0 0 0 0 0 0 0 sn Wit ‘asnvay 96sze9

0 0 0 0 0 0 0 0 0 0 0 0 qN Y3Lad ‘NVA MNOSHOO Zez9zsc008

o 0 0 0 0 0 0 0 0 0 0 0 ya YSLad 'NSSNSLSINHO 1P6ZZEC0Le

0 0 0 0 0 0 0 0 0 0 0 0 sn W173 'NVWOVIE ZZ9L€9

0 0 0 Q 0 0 0 0 0 0 0 0 ON NIMv-173 ‘NASWINNSH S190elzoze [ZBESz.

lo 0 0 0 0 0 0 0 0 0 0 0 vo f VQNIT SINNG 9ZELE9 logesz]

0 0 0 0 0 0 0 0 0 0 0 0 SN —HOUNHD LSIGOHLSW GALINN AuNESY Ze9Le9 iseesc|

0 0 0 0 0 0 0 0 0 0 a 0 ya GV ‘NSTI Zz9zeceols [PES]

0 oO 0 0 0 0 0 0 0 0 0 0 as SIMWW-WAA ‘VZZOD09 aReossrore [eeesz]

0 0 0 0 0 0 0 0 0 0 0 0 qN SN3YNV1 ‘ASGNSUvE zZ908eSE008 [ZeESZ]

o 0 0 - oO o oO 0 0 0 0 0 3d VWITSNYOD ‘ddOUN Seegzz906e [LeEsz
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Case 1

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eo QgererG2G229099000995000R0090000000000000050000000G000DGO0C DDD DC COD COCO OC OCOMmoCCSG

ecogoggoo 9999 R9 9999999900099 999000000990000000000000000000000000000000000D D000 GCC CC OCCC COC OCCOOCS

eogeeeo099DCPC FBC ABD OC ODO GOeC OOOO ODOC COeCGC OCOD OC OO OC COC COO OCC OOGS

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eeoooggogs29999999999005059090999990000000050909000000000000000000000000000000 0G DCD FOC OOOO CCKCOCCCOS

egceeeoeoo9o°0sese9 oC oOo OD OBC OD ODDO OOCBCOC GC OC COCO CC OCO COO OCG oCOOGGG

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ecre9e oso oSo ooo AOOOOO AOC OOO DC OOOO GCOOOC aC CGoSo

eooere2Q2 9999999 99R9R9900090099990R000000000000000000000000000000000000000cCC DDD DDC CC COCCCOCOCKCCKS

SOVPLPPHPPPGLAESSSSOSG®ODD990999000R90000000000000000000000000000000000000ccC00ccCcC CDC O COCK C CCC CSC OCS

SEPLLPSPV®PSLGESSAI®GBR9RD9009099999000000000000R00000000000000000000000000000000000000000000000000

SLLPPPPGQOVASOGQESS9R0909090099990R9R0000000000000000000000000000000000000000000000000000000000GC000

SE VPEVSPVGASVEAVAagea0ee0000009000000000000000000000000000000000000000000000CccCcCGG COOK CO COCO CCCCS

sn VYNINWH LOAWY S90069
30 SVWOHL ‘NNNa B0Bszz9068
sn W YN31 ‘STwndSvd3d otzees
qN ‘O'V NOL 'SINHdWYy 99908Se008
sn ANVIG 'SSNOr 99Sze9
sn 9 TAVHOIW ‘NS MOS Zbzzeg
ON ALLSINSH VHLYVW ‘MIASdITM $89971Z028
sn 9 ornre 'ZadaA Og9reg
ud BHdNOSSNOA ‘ve C£OPBsOZ9L
sn AVS ‘L108 80LLe9
sn NVA 'SHOONS OL80E9
ON NASNWHOF SNNU z9ze0lZozE
as SVWOL 'NOSSMIN3 Z06Z09P0b8
sn dO LNSWdO1SARG S1VGSWOH O16ec9
30 Tal - AW Wv3L 98120z9068
a S13IN 'NSONITUON LeyZSeEoLs
IN Vind ‘VWayriG-SNadSIu¥ gr9oBseo0R
sn QVLISIT ‘ANSMOH FELLES
sn WOL 'N3NSS3W 982069
a9 S NVCLSIMH 'AOLSIYH bZ-6Z10288
sn SVIOHOIN 'Y3QVYHOS BBELES
sn V ATHABWIM '3HONDAM ZEzPED
3a VLLOP ‘QTWM3NN3S Zb0Zez9068
sn VHSANIL 'NIVIOW 229769
Ll YALNND 'd3dWVO Zeezeo00e.
3d ASNUA ‘Live 2652679068
a SLUOUIG 'WNIA B9gLSecoLE
as VuININ 'T1aNas O6sorsPore
3a ZLN1 'YAND3M ZOLp1Z9068
iv TYVy 'NOT | b86L0002
sn GAO1 ‘GHOSsVUO SiSPES
as GVZv 'INVWAINS LbSstPbore
3a TAINVG 'N3S34NQNV 82Zb/2z9068
iv CIVNOH 'SILNVd¥Z »8Z0LZ0002
sn T1ZGOOM "SHOAM 9E86E9
iv VISNNVW 'L1SSSOd S618610002
sn V SviTv 'NOSNHOF 8zbSeg
ya HLBNN3» 'NASUSCNV PELPSECOLE
sn Q ado 'SANor oeseeg
1N §Ou 'NSNOGNA Lozsz9E008
3a N39OUSNP 'YSNONITY 6PS9zZz79068
sn ATIWS ‘SNV3d 168Z¢9
sn GUVNO31 'N3LLOO S/82£9
ya NNId 'NSSN39N30?P ZeZegeeols
sn \ VONANG 'NNIND 6bZZE9
ON WAN 'NISSSNH ZZbe60z028
ON WVITIIM 43904 'SOONGNVH Z06bLLZ028
lv ANLILSNIZDVSSYW EF6E1Z0002
3d HOIYNISH "31H 130A 00PZbz9068
xa YAIML IH VAWENS LozeZecole
i VNITOUV9 'SNOSHOOS B0LPrO008L
3a LY3ESID 'SSOO7 18>z1Z9068
3a OTSONV ‘VSNOVUIS 16LLbz9068
Lu VINIDUIA 'VLLOMONS egtsoo00gZ
sn Hd3sor 'A173y ESsze9
sn YU SNIGVN 'NOLXWS BEZZE9
sn NIAYA SAWP 'SWVv E2zZe9
iv OGYV9DIY 'NSHONVdS 89800Z0002
sn C NOMA "BOI ZPzZE9
sn VNVATAS 'VULSS1WE ZSPSE9
sn W IY4S 'HLINS 8zsse6l
sn NWWOX 'SS3TVYOW L986e9
3a IMAVS ‘LLdVL Sp9zzz9068
SO FILSN3IG Y3N4 YNLNIOVSONNTLLINNSA S0Z0Ez9068
sn O71 'SHOSIAGY SHY Egseeg
sn NILSIUM 'HONAT ZL9Ze9
sn > HSOP 'WNVESSNN 862ZE9
ON THYOL 'SIZOH ¥228712028
sn 31V0 ‘uf SVIOHOIN £969¢9
wa ‘TayMIW 'NISUSP OL6ZZEE018
ya SQWW ‘NASYOHL Zeszoreole
sn WNNVSNS ‘LSIML 8b/se9
ao WAV AYVD 'dWHONVWas z9oze9/z888
sn GHLANNSY 'SLUAEON Zhpseg
sn HONSYMV1 TS8SOULS 628669
ya 493N1 OWNS 14 ‘NASOVW bLP6ZecoLe
sn a NOL Wd 'HLINS LSsBe9
ON SPuaL 'Svv 099e607028
sn NILSIYM 'ZSIM e09Z£9
sn WVITIM 'ZiLYO 86S2£9
sn TWHAW 'NVWGT109 622269
sn f WVITIIM 'AVMOTIOH 996969
i OGYYNOAT ‘OIHDOVEWAWW Z9L0P00082
as VPY3W 'NANIMAYVd OOfs0SbOrs
LIISNOD'SNONOWdNOS + ONWW ‘OTIIZNVL 2828700082
qN OMN3Y "HVVISMNOG NAL L2zzeseoos
as TAVHOIW 'SS3Ou Siezogbore
as VNILSIMHO 'MSNYSLS NWWSTHVG Sozessbore
sn CNVSNS 'NOSGIAVG pz9se9
sn ¥ SIga3q 'NAq108 seazeg
vo -NVUS ‘OOSWYVW ShZ6E9
30 317831 ‘AGSNNSM 99z08L 9068
sn UHVUVS 'SSOU S6/6£9

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Case 1

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Iv
Nv LSNYL LNSWLSSANI SASINDYSLN] GHVZ PeeLLOOSee

N39UaNr LYANNUS 9zs91z9068
BIOOVW ‘AUSCYY 28Z9€9
AVY 'HOTHALSO 9+2p2z9068

GINLSV 'SLY3GIOD gseezseo0e
1 LHAGON “AVES E606E9
Nay YS NOSWOVr Leeses
AO NOONAARY SOLesezoze
IvW ‘N39443N So9ssz906e
AO WSNV WvAL L0909820z8
NVQ ‘NASSNWSvu LZzezecole
UVYNVT ‘YEON OLLSES
Pf SIOVONVS P AUNSH 'HAONSW 618269
STISHOIW ‘SOLVE Speseo
W GYVHOIY ‘GAOT S1e6E9
WInsun ‘SOaNISH paoszz9068
MONWUS 'WdSWN3W 0022000292
S NVILSIMHO ‘VNITOW 800zegL
WNIL “SSYNWW 2222100562
MOL "LLOIMd VS L2ZS1Zb
ZNVU4 'NSONINNAN 6RELOCOOOL
evo ' ONGASSHO 6ZEPIZL
7aavSI ' NVNIT Z9081ZF
SNNW31 ‘ANS 6S08Ez00ZL
OD BNILSNP * STHOISNVA 9S08bZE
GL1 Ald SASOUSIN b6Z9ZL00ZL
WIHOVOr ‘LONVus Z€+999068
VAN3Z ' WAOSANIL OZZL1LZ1
7 AaussSP “TALHOIHDS @Z60E91
GIAVG "VNOVINVd ezoeegt
ASUSIHL ‘YSINOW 9029000292
AVIQNW19 ‘INSLIA €S88Z91
TWONSUS' AZOVL bLeslZt
WANOL' LNVAUG ELERLZE
V JNSTYVW ‘SVIOOIN 89S0EgL
NHO? 'NW1SHd bZS0e9L
> WNYAH ‘II GNOG p9Stegt
$ VHSVLWN ' USIAVX BbESLZE
TANONT 'SldvuUss O00LE0L92
YNIL 'NVIBW 6068791
NN3y SVL‘ NOOA SpbZ LZ
ZNISH-THV 'SWWVYHOS L€Z1999068
f asor ' VWudT 8eZStZ1
HL38VZI1a ‘WNOGHVOS ZZ/LE9L
OINAGSYS “JYSIAIN S9ESELO09L
OD HdaSOr ' WNWdS3 2229bZb
3 VONA1 ‘SAWP 89¢/L00SZZ

VANIN ‘OTOLOW ZdpeZz0082
SIMI ‘NNWWZNISH @€£€Z29068
31039 SNNV ‘AZVW SZS0L90092
VONVU ‘OOSWO L690EZ008L
VAIT' SGNWHOIY ELZ91ZE
Oddi ld ‘IOOIY 9b Zzzo0RL
YALAd “LLODTIHD 6r9ZLo0SZZ
NIWVa ‘IWIN 0086291
SMOUW GOU SE9P1 0062
S$ SSOU ‘Uf NOSHALAd GOLPLZL
ASW HL3@VZI7S ‘SdW3H 1Sezso062
VHLIGNr ' THD S66P121
OUIVA 'ISANWENVE 6606220082
SyIW ‘NHOOG NVA /bZ082€008
YNNY VNNV 'NOLNOOM @$20P00062
TNIA3W * ANSWOOLNOW 6b2ZtZt
NAMNOUE WNAYAD ‘LLANNSS 86zEc0062
VuvaNva 'HaOvr 6S991ZL
W Vi0ldLWd 'S3IY @SeZ100SZ2
H UaSINNAP ‘MVHS-NITHOWW OLbZF00SZ2
Y ANNVIG ‘LN 6ZLPLooszz
7) SINE 'VAWM YVSEGNOT ELSLESL
NHOP 'HANUNL beshhZ00ZL
f SOWY ‘Nv4s EZ0PL00SeL
N YOOZNVW 'IHSSUND BEL PELL
NHANOWIONVY ‘VdOSNSy EE6EL00S6L
O VIOILS7' N3auO 1ase6tl
Vv VOOSESH ‘AVY L9SELO0S6L
TSOIN 'MBHO1S14 2e0s+ezee8
CSIMHO ' LaveYOUSONAd ZS/Z614
AMUAL ' NMOUS Zb/Z6bL
SQA19 * SNUG ZP916L1
VUIHWa 'Z¥Ad8 12790000268
OMSAaYs SINOT ‘SHOWS 1828850094
Nv SLL3SI7 8 AWHIE €€PZL00S6
AQVUL 'NSLSV1 Z96P6EL
TAVsVe ‘VHSAIY 6Z6LE91
LINVUD 'SUBALS OZL PELE
GNOWAVH ‘Olu Ty b6PPO90092
SIAVUL 'W1SH 6LEBESL
LTSNNYW ‘idS¥O37 peERest
VUONSY 'HLINS SEEBESt
9 3IMOgd ' avsuad 9z2z6LL
VINWSOU VINWW 'STISVE 1229520082
u Agog 'LNOLVITE e98Se9l
V ATUSEWIM “ SSNVULS BLZSELE
BNNVINUY ' SERIA Z60r6LL

Ho 56000066050 060000000000000000008 0590908 80009889000 00099990098 SSS9ST9SADOBHHAHGOSSOBISOQQOQQQIG

Ho cococcccc cc cc ccc eco eo coe DOO C eo DOOD O00 B00 0220099 OO999995999SHHOSSSSGAGDIPSIPS SOS SPPAPAVOGHOQQQQLOODS

Flo occ coco eC CODD DO OOO OO eCODOOBAOOOOBCOGOODOCCSeONOSGOOO

loon cee oOec Coco oOOoODO AO OOOO oOOoOn

LH coc ccccccc ceo ooo c cco DDD DD e eco OOO OOO DODD D BODO DOD OOOO DD DAOBDADOOS OSS SOG GAIGFISSPSOESSAPCCOPQOLOOOOS
LH coco ccccc oo eco coco oo Doo DC COCO Cea DO OO ESO OOD D ODOT ODO S DO DOBDADOOSSSISVGVGTPAAPASSISPSEEGOGOOHOQQQOLOS
Hs cde edossvocrooonc pn eSsccdorocseoso obo oO SOOO COO DO OO HO DOSSOOSS SOOO DOH SO GO SO ONE DAS SAA oR O Rae OOo
Hoo 000000 0000000000000000000050000000 2200990899909 990099998 S999T9SSAAPPSHPOSPOGOGPSPGOCLQQQGOQGOGOS
LH cccccccc ccs co ccc co ooo coco cco OO COD OS Bee DO SOD DED A ODO OTST DOADIOGAGSSIIGSSAPAIPSSSISOSGOCGSCCLOQOOGSOQOS

HHoccccn ccc ceo acc C ODO DOO BOOB OOOO OOOO OODABOCO OSD OOO DADO BOOB OOO,

loo ooec coo co DOO O OOO OOOO BOO BOO ODCOBOOBCAAAG OG oOO

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Case 1

0 0 0 0 0 Oo 0 0 0 0 0 0 ud OIN303YS ‘SVSONVYANVW b6Z2090092
lo 0 0 0 0 Qo 0 0 0 0 0 0 sn 8180-BE-90-E0-LL-OL-6002 XXXX ZEZSELL

0 0 0 0 ect est 0 0 Qo 0 0 0 sn 90 138VZI 'SSGNVNUZS SO/SEoL

0 0 0 0 0 0 0 0 0 0 0 0 sn VWHUON ' 303y OS8ZLZb

0 0 0 0 0 0 0 0 0 0 0 Q ya VLIINVOUVW YNVSOU 'NSSN2P ezzerreore
0 0 0 0 0 0 0 0 0 0 0 Q sn VZ34N3U ' NSSGWVe PZeeeLt

0 Q 0 0 0 0 0 0 0 0 0 0 ud SNIHd130 'GNWHON3d LLEOL90092
0 0 0 0 0 0 0 0 0 0 0 0 sn 8 SVWOHL ' HLIGSYNAW 91SZ6L1

0 0 0 0 0 0 9 0 0 0 0 0 nv STTSHOIW 'HLYOMHSY 6E9bZL0SZZ
0 0 0 0 0 0 0 0 0 0 0 Qo Yd SLOIGSN38 'MIV1037 9eez090092
0 0 0 0 0 0 Q 9 0 0 0 0 sn 1 A¥OD3HO ' SINYVH BZbPELL

0 O 0 0 0 O 0 0 0 0 0 0 id O1NVd 39NOr ‘VOISWIV 30 SSVHIVOWW bZPLLLOOLZ
lo 0 Qo 0 0 0 0 0 0 0 Q 0 nv WNAIWOOVW ‘SOINLVad Le6ezloszz
lo 0 0 0 0 0 0 0 0 0 Q 0 sn H S3ONVUS ' NOSUSCNV LOsz6rt

0 0 0 0 @stp es tp 0 0 0 0 0 0 ud SONSYNV1 SYAISSAVA 6ZLLSEOL9Z
0 0 0 0 sel Sel 9 0 0 0 0 0 sn V GAWHY 'IIv SezseoL

0 0 0 0 0 0 0 0 0 0 0 0 sn WVTISON ' ASAVS SBSLELE

0 0 0 0 0 0 0 0 0 0 0 0 vo LVTIILY 'LNSWAV 88p9E91

0 0 0 0 0 0 0 0 0 0 0 0 sn > ZINN? 'NOSNHOP S6pgegL

0 0 0 0 0 0 0 0 0 0 0 0 ud SSAA 'NYD3NS esssssoogz
0 0 0 0 0 0 0 0 0 0 0 0 sn GAMMAr 'SLLOd BL6ZE91

0 0 0 0 Q 0 Qo 0 0 0 0 0 ud VNINBVS ‘SN3SSOOD 2252250092
0 0 0 0 0 0 0 0 0 0 0 0 an UY WVITIM ‘Se LLSNN3S BLBrESL

lo 0 0 0 LObL LO'bL 0 0 Q 0 0 0 VNIU3 "VIDUWS SZZSE9L

oO 0 0 0 0 0 0 0 0 9 0 0 nv ASNYL ATINWS SNYSY P8D - NSAVSLSSM ZEOPLOOSzZ
0 0 0 QO 0 0 0 0 0 0 0 0 SNINNVAr ‘GYVOaUNv3g 6zsgeoL

0 0 0 0 0 0 0 0 0 0 0 0 gn SNOILVOINNWWOS TWLIDIG 6EPbELL

0 0 0 0 0 Qo 0 0 0 0 0 0 sn W VWISHL * SANOP 6E0PLZL

0 0 0 0 0 0 0 0 0 0 0 0 sn VLNAP 'NOLSNOH Z1ZSe9L

0 0 0 0 0 0 0 0 Q 0 0 0 vo ANNVG 'NVWSO z666Lz1

0 0 0 Qo 0 0 0 0 0 0 0 0 sn NILSINH ' MOWNWUO bbe0zZ1

0 0 0 0 0 Qo 0 0 0 QO 0 0 nv ( LUAGOU 'NSHSIS 2678100572
0 0 0 0 0 0 0 0 0 0 0 0 sn TaVHdvu ' SANDOVWe ZZz02Z1

0 0 0 0 0 0 0 0 0 0 0 0 nv V 3IT13» 'SWAIHO 9882L00S72
bet ben 0 0 0 0 0 0 0 0 Qo 0 sn S OTINWOY ‘OVIWNG oEOrzaL

0 0 0 0 0 0 0 0 0 0 0 0 ud 3NNINOO 'YSIHONV1E 1160650092
oO 0 0 0 0 0 0 Qo 0 0 0 0 sn LIVW ' SS9ONSEN3ddIy BS8zZZ1

oO 0 Qo 0 2B°LE ABLE 0 0 0 0 0 0 sn ‘1VSI1 "SNYOBSO 69ESz91

0 0 0 0 0 0 0 0 0 0 0 QO sn N3MO CONV SIN ' NVILSINHO Zbzzzzt

0 0 0 0 0 0 0 0 0 0 0 0 ya ANILSINY-3IZOS 'HLYSGAT ESBEBrEOLE
0 0 0 0 0 0 0 0 0 0 0 0 av MAXON 'LLODOND SereLooszZ
0 0 0 0 0 0 0 0 0 Qo 0 0 sn NIWWPN38 'GHOAMVYD B60bz91

oO 0 0 0 0 0 0 0 Qo 0 0 0 nv VINSONA ‘VOVAVHSWW SzLaLooszZ
0 0 0 0 0 0 0 0 Qo 0 0 0 sn d SATYVHO ‘ANENId 29zzzz1

0 Q 0 0 0 0 0 0 0 0 0 0 sn W NV31vS ' SAIGUVS 8696171
S876 0 0 S876 cy 6p cp6b 0 0 0 0 0 0 ys OYVW NV? 'NISSSIHL ZZpe000292
0 0 0 0 0 0 0 0 0 0 0 0 sn VNNVSNS ' OFSTIVA 0988121

0 0 Q 0 0 0 0 0 0 0 0 0 nw f M3YONV 'HLYOMONOT 6ELLLO0SZZ
0 0 0 0 0 0 0 Qo 0 0 0 0 sn ZLNVUd ‘UP SSTYWHO bEL7zZb

0 0 0 0 Qo 0 0 Qo 0 0 0 0 ud WoOSvd 'NVASSNON +e90z90092
0 0 0 0 0 0 oO 9 0 0 0 0 sn f ONG3d "VIIAVG BZEsz9L

0 0 0 0 0 Qo 0 9 0 Q 0 0 ZN LSNYL IVONVHM 6E8000062
0 0 0 0 0 0 0 9 0 0 0 0 ZN f NBSTMIHS 'VIVOVS LELeLooseZ
0 0 0 0 0 0 0 0 0 0 0 0 nw AYODSHD 'LYANISM OLLBLOOSZZ
0 0 0 0 0 0 0 9 0 0 0 0 sn AGNVY ' MONVYS 6229121

0 0 0 0 0 0 0 0 0 0 0 0 sn V NVHLWN ' ONVHOWVZ 6280zZ1

10 0 0 0 0 0 0 0 0 0 0 0 sn f O18Vd ‘SOdWVD BbzbZ91

0 0 0 0 0 0 0 0 0 Q 0 0 sn W TANNVW ' OG3W1v Lpezozt

0 0 0 0 0 0 0 0 0 0 0 0 av 1V99383u 'SINNON PEZLLOOSe2
0 0 0 0 0 0 0 0 0 0 0 0 ya ONVE VLLUYG 'N37G L9L86rEOL8
0 0 0 0 0 0 0 0 0 0 0 0 sn UVWIDNT 'SAVHIVANVS 9ébbzOL

0 0 0 0 Q 0 0 0 0 0 0 0 nv @ LL3HE ‘LL38YOd OSsssLoosZZ
0 0 0 0 0 0 0 0 0 0 0 0 nw 1BIN3HO 'MANINYWW LSpBLOOSsZZ
0 0 0 0 0 0 0 0 0 0 0 0 Ag AO ALVAVPONS N3WAX S992582079
0 0 0 0 0 0 0 0 0 0 0 0 il VINVANYNNY ‘WIOLLOW 680ZEz0082
0 0 0 0 Q 0 0 0 0 0 0 0 ON A SONIA 'SS3N9 ZZ9PZE7028
0 0 0 0 0 Qo 0 0 0 0 0 0 ud WVITIM 'Y3I8Y3157 2659PZ0002
0 0 0 0 QO 0 0 0 0 0 0 0 sn LWVITIM ' SNVHOW 0926121

0 0 0 0 0 0 0 0 0 0 0 0 sn SNOILVSINNWWOD AMSLHOINE 9L99Z91

0 0 0 0 0 0 0 0 0 Qo 0 0 ud N313H SIYWW 'AZDVS LZe8z790092
0 0 0 0 0 0 0 0 0 0 QO 0 sn WVLIN31' WATIS 6ObLZZL

0 0 0 0 0 0 0 0 0 0 0 0 ZN ‘1VNNV 'SNNOBSO b8/2L00S62
0 0 0 0 0 0 0 0 0 0 0 0 nv STISHOIW 'HONSYS 6S68L00SZZ
0 0 0 0 yale vedt 0 oz 0 0 0 0 sn WV NIASY | NVA 6692221

0 0 0 0 0 0 0 Q 0 0 0 0 ya 193uI0 HNW oBs6ereote
0 0 0 0 0 0 0 a 0 0 0 Q sn f SVWOHL ' HONE ZZ802Z1

0 0 0 0 0 0 0 0 Q 0 0 0 nv ILISH ‘ON3SL bZ6eEz00ZL
0 0 0 0 Q 0 Qo 0 0 0 0 0 nv V NOUAVS 'AVIONVE SSLBLoOSzZ
0 0 0 0 0 0 0 0 0 0 0 0 sn OVSSINVA ‘HSINYVd OOEOzZL

0 Qo 0 0 0 0 0 0 0 0 0 0 vo V VNIWUV9 'OINN? SBL6LzL

0 0 0 0 0 0 0 0 0 0 0 0 ud STI8VSI “IHAr Efes0s00gZ
0 0 0 0 0 0 0 0 0 0 0 Q nv WWWA 'VTISA Zeze9z00zZ
0 0 0 0 0 0 0 0 Qo 0 0 0 nv VidOZ 'VSOU S962L00572
0 0 0 0 Q 0 0 0 Q Q 0 0 sn 3 SOIMNVW 'YS SONINN? €86e1Z1

0 0 QO 0 0 0 0 0 0 0 0 0 sn WVITIIM ' 43710 8896121

0 0 oO 0 0 0 0 0 0 0 0 0 sn S VNNOG ' NOSTHW9 9£z9LZL

0 0 0 0 0 0 Q 0 0 0 0 0 sn SIN1' SVNVSW9 62SPLZL

0 0 0 0 0 0 0 0 0 0 0 0 nv NYTIV9 Sawvr 'NVTIV9 6StOPz00z2
0 0 0 0 0 0 0 0 0 QO 0 Q vo SIMHO '3LOOS pLzeLZt

0 0 0 0 0 0 0 0 Qo a 0 0 sn VVLITHVS 'NOSNHOP v6841Z1

0 0 Qo 0 0 0 0 0 0 0 0 0 sn WHLISy "MAZSUSP ZL LEOE

0 0 0 0 0 0 0 0 0 0 0 0 ZN BNITONVS 'CIWNOGOW £9281 0062
0 0 0 0 0 0 0 0 0 0 0 0 sn SINNSM 'VATVS 889LE91

0 0 9 0 0 0 Qo 0 0 0 0 0 av Hvuvs ‘VANS LgLs9zo0zZ

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